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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


PATRICIA CONWAY,                                )
                                                )
                        Plaintiff,              )
                                                )
               v.                               )   Case No. 4:22-cv-01113-RLW
                                                )
MERCY HOSPITAL ST. LOUIS,                       )
                                                )
                        Defendant.              )


    PLAINTIFF’S RESPONSES TO DEFENDANT MERCY HOSPITAL ST. LOUIS’
           STATEMENT OF UNCONTERVERTED MATERIAL FACTS

       Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 4.01(E), Defendant Mercy

Hospital St. Louis (“Mercy” or “Defendant”), through its undersigned counsel, hereby states for

its Statement of Uncontroverted Material Facts as follows:

       1.      Mercy Health Ministries is a public juridic personality of the Roman Catholic

Church. Exhibit A, Minder Declaration (¶¶ 9-11, Exhibits KM-3, KM-4, KM-5).

RESPONSE: Admit.

       2.      Mercy was founded by the Sisters of Mercy, a Roman Catholic religious order of

nuns. Exhibit A, Minder Affidavit; (¶¶ 5-10, Exhibits KM-2, KM-3, KM-4, KM-19, KM-23).

RESPONSE: Admit.

       3.      Mercy Health Ministries was formed in accordance with the Canonical Statutes

and is an entity for Canon Law purposes only, as it is not incorporated under the civil laws of any

state. Exhibit A, Minder Declaration (¶ 11, Exhibits KM-4, KM-5).

RESPONSE: Admit.




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       4.      Mercy Health is the civil business entity and organization through which Mercy

Health Ministries and the Catholic Church perform their health care services and mission work.

Exhibit A, Minder Declaration (¶ 12).

RESPONSE: Admit.

       5.      Mercy Hospital St. Louis is a d/b/a of Mercy Hospitals East Communities, which

is a wholly-owned subsidiary of Mercy Health East Communities, which is a wholly-owned

subsidiary of Mercy Health, which is a wholly-owned subsidiary of Mercy Health Ministries.

Exhibit A, Minder Declaration (¶¶ 13-14).

RESPONSE: Admit.

       6.      Mercy Hospital St. Louis’ mission statement states: “As the Sisters of Mercy

before us, we bring to life the healing ministry of Jesus through our compassionate care and

exceptional service.”; Exhibit A, Minder Declaration (¶ 39, Exhibit KM-19).

RESPONSE: Admit.

       7.      Mercy Health Ministries, Mercy Health, Mercy Hospital St. Louis, and all of

Mercy Health’s other wholly-owned subsidiaries are listed in the Official Catholic Directory,

meaning that the listed entity can own property in the name of the Catholic Church and is

considered tax exempt by the IRS based on its inclusion in the Official Catholic Directory.

Exhibit A, Minder Declaration (¶¶ 17, 19, Exhibit KM-11, KM-34).

RESPONSE: Admit.

       8.      Mercy Health’s Board of Directors consists of four nuns from the religious order

of the Sisters of Mercy and is accountable to the Vatican Dicastery of the Congregation for the

Institutes of Consecrated Life and Societies of Apostolic Life. Exhibit A, Minder Declaration (¶¶

22-25, 37, Exhibits KM-8, KM-9, KM-15, KM-16, KM-17, KM-35).



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RESPONSE: Admit.

       9.      Mercy Health’s Articles of Incorporation and Bylaws identify its purpose as

continuing the healing acts of Jesus Christ in accordance with the doctrines and tenets of the

Catholic Church. Exhibit A, Minder Declaration (¶¶ 21, 31, 37-39, Exhibits KM-8, KM-13, KM-

14).

RESPONSE: Admit.

       10.     Mercy adheres to Ethical and Religious Directives for Catholic Health Care

Services promulgated by the United States Conference of Bishops. Exhibit A, Minder

Declaration (¶¶ 40-44, Exhibits KM-8, KM-20, KM-21).

RESPONSE: Admit.

       11.     Mercy Hospital St. Louis is a non-profit healthcare provider and facility, with tax-

exempt status from the IRS, that receives monetary funding from the Catholic Church through its

various Catholic Dioceses. Exhibit A, Minder Declaration (¶¶ 17-18, 26-29, Exhibits KM-8, KM-

10, KM-11, KM-12).

RESPONSE: Admit.

       12.     Mercy’s workplace is adorned with religious imagery and prayer occurs routinely

and is also communicated over the public address system at least once a day. Exhibit A, Minder

Declaration (¶¶45-50, 55-58, Exhibits KM-31, KM-32, KM-33).

RESPONSE: Admit..

       13.     The Missouri Commission on Human Rights has declared Mercy and all of its

wholly-owned subsidiaries and affiliates to be organizations owned or operated by the Catholic

Church and dismissed numerous discrimination charges on this bases, including the charge of

discrimination filed by Plaintiff. Exhibit A, Minder Declaration (¶ 60, Exhibit KM-36).



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RESPONSE: Admit.

                       Additional Material Facts that Can Be Disputed

   14. Defendant Mercy Hospital St. Louis’s doctors and nurse practitioners are not employees

      of Defendant, but are employed by a different sub-entity. Exhibit 1, Conway Affidavit.

      ¶3.

RESPONSE:

   15. Defendant Conway worked for a for-proft sub entity of Mercy. Id.

RESPONSE:

   16. The vast majority of employees at Mercy are not Catholic. Id. at 4.

RESPONSE:

   17. During the training process for workers, no instruction is given about the Catholic

      religion. Id. at 5.

RESPONSE:

   18. Defendant Mercy does not hold regular worship services for its employees. Id. at 12.

RESPONSE:

   19. Defendant Mercy does not ask workers if they are Catholic during the interview process,

      and indeed never discussed religion with its employees until the vaccine mandate. Id. at ¶

      5.

RESPONSE:

   20. During the years 2017-2019, Mercy’s entities accumulated a total of $3,207,180 in

      income unrelated to their non-profit status. Exhibit 4 at 2, ¶ 39 ($61,529); Exhibit 3 at 2 ¶

      38 ($94,051); Exhibit 2 at 1 ¶ 13 ($934,593); Exhibit 7 at 1 ¶ 13 ($3,014,741); Exhibit 6

      at 1 ¶ 13 ($2,886,178); Exhibit 5 at 1 ¶ 13 (-$3,783,912).



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RESPONSE:

   21. In 2017, Mercy Hospitals East Communities reported a $124,431 dollar profit from their

      lab services business and $793,482 in gross income from their retail business. Exhibit 2.

RESPONSE:

   22. In 2019, Mercy Hospital East Communities had for profit equity interests in at least 28

      sub entities, including S-Corps it had an interest in or partnerships. Exhibit 7 at 8.

RESPONSE:

   23. Mercy Hospital St. Louis employs individuals who do not believe in or practice

      Catholicism. Exhibit 1, Conway Declaration ¶4-5; Exhibit 3.

RESPONSE:

   24. Mercy Hospital St. Louis holds itself out to the public as an equal employer that

      welcomes patients of all races, religions, ethnicities, political views, and genders. Exhibit

      1, Conway Declaration ¶¶4-5; Exhibit 3.

RESPONSE:

   25. The CMS Mandate requires healthcare providers like Mercy Hospital St. Louis establish

      and implement a process by which staff may request an exemption from COVID–19

      vaccination requirements. Exhibit 4.

RESPONSE:

   26. The CMS Mandate requires healthcare providers like Mercy Hospital St. Louis to have a

      process for collecting and evaluating such requests, including the tracking and secure

      documentation of information provided by those staff who have requested exemption, the

      facility’s decision on the request, and any accommodations that are provided. Exhibit 4.

RESPONSE:



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   27. The CMS Mandate requires healthcare providers like Mercy Hospital St. Louis to

      document and evaluate requests for religious exemptions in accordance with applicable

      Federal law and each facility’s policies and procedures. Exhibit 4.

RESPONSE:

   28. Mercy Hospital St. Louis states in their religious exemption section of their Covid-19

      Vaccine Policy that exemption applicants must upload their Religious Exemption

      Request Form, along with a certification form from their religious leader or other person

      who can attest the individual’s religious beliefs are sincerely held, by August 15, 2021.

      Exhibit 1, Conway Declaration ¶¶6-7; Exhibit 5.

RESPONSE:

   29. Mercy Hospital did not raise the organizational status as a religious corporation as a

      defense to Plaintiff Conway’s unemployment compensation appeal. Exhibit 8.

RESPONSE:

   30. Plaintiff Conway completed and electronically submitted her request for religious

      exemption in accordance with Defendant Mercy’ Hospital St. Louis’ religious exemption

      section of their Covid-19 Vaccine Policy. Exhibit 1, Conway Declaration ¶¶6-7; Exhibits

      5-7.

RESPONSE:

   31. Mercy Hospital St. Louis has granted religious accommodations for other employees who

      do not adhere by their Catholic beliefs. Exhibit 1, Conway Declaration ¶9.

RESPONSE:

   32. Defendant Mercy Hospital failed to review Plaintiff’s application for a religious

      accommodation upon submission. Exhibit 1, Conway Declaration ¶10, Exhibit 8.



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RESPONSE:

   33. The Appeals Tribunal for the Missouri Division of Unemployment held that Defendant

      Mercy Hospital failed to follow its own established policy to determine when a religious

      exemption to a vaccination would be granted. Exhibit 1, Conway Affidavit ¶10, Exhibit

      8.

RESPONSE:

   34. The Mercy witness at the hearing made no reference whatsoever to Mercy’s putative

      religious corporation status. Conway Affidavit ¶ 12.

RESPONSE:

   35. Mercy Hospital’s failure to follow its own established Covid-19 Vaccine Policy

      constitutes a violation of the CMS Mandate. Exhibit 1, Conway Affidavit ¶¶6-9; Exhibits

      4-7.

RESPONSE:



                                                  Respectfully submitted,

                                                  OTT LAW FIRM



                                                  _______________________
                                                  Joseph A. Ott, #67889


                                                  _______________________
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                                                         mark@ott.law
                                                         Attorneys for Plaintiff




                                    CERTIFICATE OF SERVICE

        COMES NOW Plaintiff Conway by and through undersigned attorney, and hereby certifies

that the forgoing was served via the courts e-filing system and email on this 6th Day of April 2023 to:



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